    20-05027-rbk Doc#8 Filed 06/03/20 Entered 06/03/20 07:32:33 O/Stmc AP int ptys Pg 1
                                           of 2
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas
                                  San Antonio Division

                                                                       Bankruptcy Case
                                                                                       20−50805−rbk
                                                                                  No.:
                                                                          Chapter No.: 11
IN RE: Krisjenn Ranch, LLC, Krisjenn Ranch,
LLC, Series U , Debtor(s)

                                                              Adversary Proceeding No.: 20−05027−rbk
                                                                                 Judge: Ronald B. King
                                                          Krisjenn Ranch, LLC,
                                                          Krisjenn Ranch, LLC, Series
                                                          Uvalde Ranch, Krisjenn
                                                          Ranch, LLC, Series Pipeline
                                                          Row
                                                          Plaintiff
                                                     v.
                                                          DMA Properties, Inc. et al.
                                                          Defendant



                 ORDER REQUIRING STATEMENT REGARDING CONSENT
        The Court, having considered the guidance from the United States Supreme Court in Wellness Int'l Network,
Ltd. v. Sharif (In re Sharif), −−− U.S. −−−−, 135 S. Ct. 1932, 1948 n.13 (2015), finds that the following Order should
be entered.

      IT IS ORDERED AND NOTICE IS HEREBY GIVEN AS FOLLOWS:

       1. Within 21 days after the date of entry of this Order, each party in this adversary proceeding shall file and
serve a "Statement Regarding Consent."

        2. In such Statement Regarding Consent, each party shall expressly state that the party consents to entry of
final orders and a final judgment by the Court (an Article I bankruptcy judge) in this adversary proceeding, OR, that
the party does not consent to entry of final orders and a final judgment by the Court (an Article I bankruptcy judge) in
this adversary proceeding.

       3. If any party is added to, joined, or served in this adversary proceeding after the entry of this Order, such
additional party shall file and serve a separate Statement Regarding Consent at the same time as the first pleading is
filed by such additional party.

       4. Nothing contained in this Order shall constitute a finding or determination by the Court that consent of the
parties is required for the Court to enter final orders and a final judgment in this adversary proceeding.


Dated: 6/3/20
                                                                Barry D. Knight
                                                                Clerk, U. S. Bankruptcy Court
                                                                BY: Rosa Gonzalez
20-05027-rbk Doc#8 Filed 06/03/20 Entered 06/03/20 07:32:33 O/Stmc AP int ptys Pg 2
                                       of 2
                                                           [Statement Regarding Consent Order (AP)] [OstmcAPap]
